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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                          §
                                                  §
                                                  §
                                                  §
VS.                                               §     CRIMINAL NO. H-11-340
                                                  §
                                                  §
                                                  §
TAI NGUYEN, et al                                 §

                                                ORDER

       Defendant Tai Nguyen filed an unopposed motion for continuance. (Docket Entry No. 164).

The government and the codefendants are unopposed to the motion. The court grants the motion.

The court finds that the interests of justice are served by granting this continuance and that those

interests outweigh the interests of the public and the defendants in a speedy trial. The motion for

continuance is GRANTED. The docket control order is amended as follows:

       Motions are to be filed by:                     February 6, 2012
       Responses are to be filed by:                   February 20, 2012
       Pretrial conference is reset to:                February 27, 2012 at 9:00 a.m.
       Jury trial and selection are reset to:          March 5, 2012 at 9:00 a.m.


               SIGNED on November 10, 2011, at Houston, Texas.

                                                      ______________________________________
                                                               Lee H. Rosenthal
                                                         United States District Judge
